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                      EXHIBIT A
DocuSign Envelope ID: FCD42F79-4F61-4538-ABA6-3DCF0D54A702
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                                 KASOWITZ BENSON TORRES LLP
                                                         1633 BROADWAY                                    ATLANTA
                                                                                                         HOUSTON
                                                   NEW YORK, NEW YORK 10019
        Jennifer S. Recine                                                                              LOS ANGELES
   Direct Dial: (212) 506-1916                               (212) 506-1700                                MIAMI
   Direct Fax: (212) 500-3416
      JRecine@kasowitz.com                             FAX: (212) 506-1800                                 NEWARK
                                                                                                       SAN FRANCISCO
                                                                                                       SILICON VALLEY
                                                                                                       WASHINGTON DC




                                                                              December 19, 2022



            Via Email

            AmeriFirst Financial, Inc.
            C/O – Eric Bowlby (CEO)
            1550 E. McKellips Road
            Suite 117
            Mesa, AZ 85203
            EBowlby@amerifirst.us


                     Re:     Terms and Conditions of Engagement

            Dear Mr. Bowlby:

                    This letter confirms AmeriFirst Financial, Inc.’s (the “Company”) retention of Kasowitz
            Benson Torres LLP (“Kasowitz”) in connection with conducting an initial claims analysis (the
            “Analysis”) concerning potential litigation claims the Company may have concerning its
            relationship with Reverence Capital Partners (“Reverence”).

                   Our representation will consist only of analyzing potential claims and initial outreach to
            Reverence to try to negotiate a resolution of this matter. Absent a separate agreement between
            Kasowitz and the Company, we will not file a formal action against Reverence. In the event that
            the commencement (or defense) of formal litigation is required, Kasowitz will only represent the
            Company in such an action pursuant to the terms of a mutually agreeable separate letter of
            engagement, as necessary.

                     Kasowitz bills for its services based on the hourly time charges of its attorneys and legal
            assistants. Disbursements (e.g., duplicating, postage, telefax, and other similar expenses) are
            billed separately. For this retention, Kasowitz agrees to extend the Company a 20% discount on
            all hourly fees (the “Discount”). Bills are rendered on a monthly basis and are payable on
            receipt.
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                    We require an initial retainer of $50,000. Any unused portion of the retainer will be
            returned to you when the matter is completed. Please forward the retainer promptly to us. Wiring
            instructions are included at the end of the letter. The Discount will continue to apply for the
            entirety of the Engagement, so long as bills are paid within thirty days of receipt.

                    We are required to advise you that, under state law, in the event of any fee dispute
            between you and Kasowitz involving a sum of more than $1,000 but less than $50,000, you have
            the option to seek resolution of such dispute in an arbitration proceeding conducted pursuant to
            Part 137 of the Rules of the Chief Administrator of the Courts of the State of New York.

                     Please return an executed original of this letter and keep one copy for your files.

                     We look forward to working with you.




                                                                    Sincerely,

                                                                    KASOWITZ BENSON TORRES LLP



                                                                    By:
                                                                             Jennifer S. Recine



            AGREED:




            Eric Bowlby
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            FUNDS SHOULD BE WIRED TO:

            CITIBANK, N.A.
            Private Bank
            153 East 53rd Street
            New York, New York 10022
            ABA# 021 000 089
            BIC# CITIUS 33 PBG
            For the benefit of:
            Kasowitz Benson Torres LLP
            Account #4980267744
            Swift Code: CITI US 33
            Tax I.D. #XX-XXXXXXX
            Please Reference: Jennifer S. Recine
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Certificate Of Completion
Envelope Id: FCD42F794F614538ABA63DCF0D54A702                                                   Status: Completed
Subject: Complete with DocuSign: Kasowitz Benson Torres Engagement Letter 12.19.2022.pdf
Source Envelope:
Document Pages: 3                                Signatures: 1                                  Envelope Originator:
Certificate Pages: 1                             Initials: 0                                    Linda Welsch
AutoNav: Enabled                                                                                1550 E McKellips Rd Ste 117
EnvelopeId Stamping: Enabled                                                                    Mesa, AZ 85203
Time Zone: (UTC-07:00) Arizona                                                                  lwelsch@amerifirst.us
                                                                                                IP Address: 68.109.145.228

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Status: Original                                 Holder: Linda Welsch                           Location: DocuSign
        12/19/2022 9:26:52 AM                              lwelsch@amerifirst.us

Signer Events                                    Signature                                      Timestamp
Eric Bowlby                                                                                     Sent: 12/19/2022 9:27:50 AM
ebowlby@amerifirst.us                                                                           Viewed: 12/19/2022 10:02:58 AM
President                                                                                       Signed: 12/19/2022 10:03:29 AM
AmeriFirst Financial, Inc.
                                                 Signature Adoption: Pre-selected Style
Security Level: Email, Account Authentication
(Optional)                                       Using IP Address: 65.122.4.234


Electronic Record and Signature Disclosure:
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In Person Signer Events                          Signature                                      Timestamp

Editor Delivery Events                           Status                                         Timestamp

Agent Delivery Events                            Status                                         Timestamp

Intermediary Delivery Events                     Status                                         Timestamp

Certified Delivery Events                        Status                                         Timestamp

Carbon Copy Events                               Status                                         Timestamp

Witness Events                                   Signature                                      Timestamp

Notary Events                                    Signature                                      Timestamp

Envelope Summary Events                          Status                                         Timestamps
Envelope Sent                                    Hashed/Encrypted                               12/19/2022 9:27:50 AM
Certified Delivered                              Security Checked                               12/19/2022 10:02:58 AM
Signing Complete                                 Security Checked                               12/19/2022 10:03:29 AM
Completed                                        Security Checked                               12/19/2022 10:03:29 AM

Payment Events                                   Status                                         Timestamps
